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                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF LOUISIANA

 MMR CONSTRUCTORS, INC.,                          CIVIL ACTION NO.: 22-CV-267

         Plaintiff,                               JUDGE BRIAN A. JACKSON

 VERSUS                                           MAGISTRATE JUDGE
                                                  RICHARD L. BOURGEOIS, JR.
 JB GROUP OF LA, LLC D/B/A
 INFRASTRUCTURE SOLUTIONS
 GROUP, et al.,

         Defendants.

******************************************************************************
                MEMORANDUM IN SUPPORT OF DEFENDANTS’
         MOTION TO COMPEL PLAINTIFF’S DISCOVERY RESPONSES

MAY IT PLEASE THE COURT:

        For the following reasons, Defendants, JB Group of LA, LLC, d/b/a Infrastructure

Solutions Group, Jason Yates, Travis Dardenne, David Heroman and Michael Lowe (collectively,

“ISG”), respectfully submit this Memorandum in Support of its Motion to Compel Plaintiff, MMR

Constructors, Inc. (“MMR”), to immediately respond and provide interrogatory answers and

documents responsive to ISG’s requests.

   I.      PRELIMINARY STATEMENT

        ISG has produced more than a million pages of material (most of which unrelated to this

dispute as the result of overbroad search terms imposed on ISG). In sharp contrast, MMR has

stonewalled production, trickling out less than 2,000 pages in response to only 4 of 119 separate

requests, even when MMR agreed to produce responsive documents to certain of those requests.

In fact, 1,672 of the 1,684 pages MMR has produced are nothing more than the employment files

of the individual defendants. MMR has not produced a single email (whether internal or external).



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             MMR’s failure to abide by basic discovery rules has not been without protest from ISG.

As set forth in the Declaration of Erin Fonacier, ISG has consistently pressed for the outstanding

documents and interrogatory answers – evidence critical to the defense of this trade secret case –

engaging in numerous meet and confer sessions, zoom meetings and email exchanges with MMR’s

counsel. The need for these documents increased with importance as the parties began discussing

scheduling depositions of party witnesses this past May 2024. ISG made it clear that depositions

could not proceed without an adequate document production from MMR; ISG would not be

prejudiced with taking MMR depositions without the benefit of MMR’s documents. During the

summer of 2024, MMR made assurances that it would be producing additional documents, but

those assurances were unfulfilled. This led ISG to send an itemized deficiency letter on August 20,

2024.1 ISG followed up several times but to date, MMR has not substantively responded to the

letter or produced a single document in response. Consequently, ISG had no choice but to seek

relief from the Court.

       II.      OUTSTANDING DISCOVERY

             The discovery at issue is targeted and highly relevant. For purposes of this motion, ISG has

narrowed down MMR’s discovery failures to four areas of inquiry, set forth immediately below.

             A. MMR’s Internal Communications

             In any commercial dispute, a party’s communications about that dispute are highly

relevant. This is particularly true here because several current ISG employees are former MMR

employees and have specific recollections of email communications and other documents in

MMR’s files during their tenure that relate to this dispute. Yet none have been produced to date.




1
    A true and correct copy of which is attached to the Fonacier Declaration as Exhibit “M”.

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        For example, ISG’s founder Jason Yates testified that while he was employed at MMR he

had exchanged emails with MMR’s in-house counsel Matt Welborn about ISG.2 Yates further

answered in response to MMR’s complaint that MMR’s corporate counsel, Mr. Welbourne, was

aware of his use of MMR forms and templates on behalf of ISG,3 and therefore such

correspondence would prove the same. MMR’s knowledge and consent to Yates’ use of MMR

files came about according to Yates because he started ISG while working at MMR with MMR’s

knowledge and consent.4 This led ISG to assert the following document demand:

        REQUEST FOR PRODUCTION NO. 1:5

        Provide a copy of all Documents reflecting, concerning, or relating to communications
        between Matt Welborn and Jason Yates referencing, concerning, or relating to ISG
        (including, but not limited to, communications in or about early 2021 relating to the
        contract from Jefferson Parish to ISG for the Causeway Lighting Project and contract from
        Boone Construction to ISG for the Baton Rouge Airport Lighting Project).


        Relatedly, ISG requested communications between MMR and Yates concerning ISG (RFP

#2) and communications prior to the lawsuit within MMR concerning ISG. ISG specifically

requested communications among MMR’s two most senior officials, Pepper Rutland and John

Clouatre, relating to MMR’s allegations in this lawsuit. (First Set of RFP #13 and #14).6 Another

former MMR official now with ISG is Kevin Alexander, who recalls specific communications

with Yates and others about ISG while Mr. Alexander was with MMR. ISG subsequently requested

from MMR Mr. Alexander’s emails about ISG and forensic copies of his computer and cell phone,

which he returned to MMR on his departure.7


2
   See Jason Yates’ deposition, pages 9 and 15 (ECF 119-003).
3
  See Jason Yates Answer to MMR’s Second Amended Complaint for Damages, Temporary Restraining Order, and
Injunctive Relief, ⁋ 30 (ECF 75).
4
  See Jason Yates’ deposition, pages 15-16, 55, and 59 (ECF 119-003).
5
  A true and correct copy of which is attached to the Fonacier Declaration as Exhibit “C”.
6
   While MMR agreed to produce responsive documents, not a single document has been produced. See also, a true
and correct copy of which is attached to the Fonacier Declaration as Exhibit “A”.
7
  A true and correct copy of which is attached to the Fonacier Declaration as Exhibit “H”.

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        These are very specific demands intended to yield not only relevant but likely admissible

evidence; yet MMR has not produced a single document in response to these requests. This is

particularly egregious in light of MMR’s allegations in this lawsuit about conducting an

investigation into the copying of MMR files by employees departing for ISG.8

        On August 20, 2024, in response to MMR’s objections ISG narrowed these requests in

scope temporally and limited the MMR employees to which these requests apply.9 However, MMR

has yet to respond to these narrowed requests despite the fact that it would only take a few forensic

searches (e.g., search “Yates” or “ISG” on targeted individuals’ MMR emails) between January 1,

2020 and April 23, 2022 to identify responsive documents.

        B. MMR’s Use of Publicly Available Data

        In its recent motion to vacate the preliminary injunction, ISG put forth testimony from

three former MMR employees who explained how the data MMR uses in its estimating process –

the data upon which the injunction is based – is not proprietary and is actually based on publicly

available data from a subscription service offered by the National Electrical Contractors

Association (“NECA”).10 MMR contends that the database is not based on NECA and instead is

the result of decades of MMR expertise.11 It is because of this fact dispute that ISG served the

following document demand:

        REQUEST FOR PRODUCTION NO. 5:12

        Provide a copy of all Documents referencing, concerning, or relating to National Electrical
        Contractors Association (“NECA”) unit rates and/or NECA labor rates.



8
   See MMR’s First Amended Complaint (ECF 29); ¶ 36 (“MMR engaged a firm with an expertise in computer
forensics to confirm whether – like Kasey Kraft – there was any evidence suggesting the potential theft of
information”); ¶ 64 (“MMR engaged its forensic expert to analyze the computer issued to Kraft”).
9
  A true and correct copy of which is attached to the Fonacier Declaration as Exhibit “M”.
10
    See Russel Gaudin deposition, pg. 18 (ECF 161-5) and Billy Hoover deposition, pg. 19 (ECF).
11
    See MMR’s Opposition to Motion To Dissolve Preliminary Injunction, pages 29-30. (ECF 168-1).
12
   A true and correct copy of which is attached to the Fonacier Declaration as Exhibit “C”.

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        To facilitate MMR’s production, ISG further limited this request to documents “relating to

any comparison or analysis of NECA unit rates used by MMR between January 1, 2020 and

December 31, 2021.”13 As with all of the discovery demands at issue, MMR has made no

production in response to this narrowed request.

        C. MMR Disclosing it’s Purported “Trade Secrets”

        One of ISG’s contentions in response to MMR’s trade secret claim is that certain of MMR’s

alleged “proprietary” documents, templates and data – in particular relating to pricing and bidding

information – is actually shared among customers and competitors alike.

        Former MMR employees now with ISG know that when they worked at MMR they had

pricing and bidding information from competitors and competitors had MMR information as

well.14 ISG was aware that it was industry standard to possess competitor information because

such information was practically identical across the board. The information is shared by

customers who may ask MMR to beat competitors’ bids, or through other means.15 Former MMR

employees at times shared MMR information with others (customers, contractors, etc.) when it

made sense to do so.16 And employees often take information from one employer to the next.17

This was confirmed in testimony by the former MMR employees with no affiliation with ISG.18

For example, another former MMR employee, Billy Hoover, explained during his deposition,

“[E]verybody uses the same formats. Everybody uses profit, overhead, taxes, to my knowledge …

there is nothing secret about how you do an overhead sheet.”19



13
   A true and correct copy of which is attached to the Fonacier Declaration as Exhibit “M”.
14
   See Jason Yates’ deposition, pgs. 30-31 (ECF 119-003).
15
   Recent testimony stated that sometimes customers share bids with competitors to obtain better pricing. See Tracey
Hollier deposition, pg. 25 (ECF 161-6); Billy Hoover deposition pg. 81 (ECF 161-3)
16
   See Russell Gaudin deposition pgs. 17-18 (ECF 161-5).
17
   Id. at pgs. 85-86 (ECF 161-5).
18
   See Russell Gaudin deposition pgs. 85-86 (ECF 161-5).
19
   Billy Hoover deposition pg. 74 (ECF 161-3).

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         This is not to criticize MMR’s business practices; according to industry participants, the

flow of information among competitors is fluid and not atypical.20 The President of one of MMR’s

competitors, Tracy Hollier of Merit Electric, testified consistently as well:

        Q: You wouldn’t want your competitor to have your inside information, right?

        A: […] the information is still industry knowledge. We all know what it takes to do the
        job and do work in this industry. … In my case, I’m 30 years [in this industry], but it’s all
        very industry knowledge, experience, and …basically all get from the same pool of people,
        too.”21
                                                   ***
        Q. And the -- do you know, in your experience, do customers ever share the bids of other
        competitors with you -- with Merit to try to get Merit to meet a price or beat a price or the
        other way around?

        A. Unofficially?

        Q.· Yes.

        A.· I would say in the course of my 30 years I have had customers share information,
        yes.22

        One reason for this is that pricing and bidding information is rendered stale with little to

no economic value almost immediately after a customer selects a contractor through a bidding

process.23 This is because pricing and bidding information – the information at the heart of MMR’s

trade secret claim – is very project specific and not transferable to other projects.24




20
   See Russell Gaudin deposition, pgs. 85-86 (ECF 161-5); Tracey Hollier deposition, pg. 61 (ECF 161-6); Rob Mason
deposition, pgs. 01-103 (ECF 161-4).
21
   Tracey Hollier deposition, pg. 33, (ECF 161-6).
22
    Id. at 25.
23
   See Russell Gaudin deposition, pgs. 90, 97-98, 104-105 (ECF 161-5); Tracey Hollier deposition, pgs. 17-23 and 53-
54 (ECF 161-6); Rob Mason deposition, pgs. 54-56 (ECF 161-4); and Billy Hoover, pg. 30 (ECF 161-3).
24
   See Rob Mason deposition, pgs.48-50 (ECF 161-4); Tracey Hollier deposition, pgs. 18-19 (ECF161-6); and Billy
Hoover, pgs. 21-30 (ECF 161-3).

                                                             6
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         Consequently, through discovery ISG sought to obtain whatever competitor information

MMR had in its possession (First Set of RFP25 #41, Third Set of RFP26 #14, Fourth Set of RFP27

#21, Fifth Set of RFP28 #1-6, Yates Interrogatory29 #10). For example:

         REQUEST FOR PRODUCTION NO. 14:30

         Provide a copy of all Documents reflecting or relating to the disclosure outside of MMR
         of any overhead top sheets, labor and material sheets, estimates, change logs, job analyses,
         contracts, change orders, s-curves, timekeeping documents, Quality Assurance/Quality
         Control manuals, employee handbooks, safety manuals, and/or customer proposals from
         the date when any of the Defendants commenced employment with MMR, through the
         present.

         INTERROGATORY NO. 10:31

         Identify and describe in detail each instance in which MMR (including but not limited to
         Jason Templet, Vance Mitchell, Wayne Radley, John Clouatre, Mike Kee, and/or Pepper
         Rutland) possessed, used, and/or disclosed documents of a competitor of MMR (including,
         but not limited to, ISC Constructors) documents or information (including, but not limited
         to, to bid on any project or contract), including the Identity of the MMR individuals
         involved in such possession, use, and/or disclosure, the type of information possessed,
         used, and/or disclosed, and how.

         Conversely, ISG also sought evidence of MMR sharing pricing and bidding information

outside of MMR (First Set of RFP #3432 and Amended Interrogatories #5, 6, 9 and 1033).

Obviously, instances of such disclosure would defeat any trade secret claim. Specific discovery

demands include:

         REQUEST FOR PRODUCTION NO. 34:34

         Provide a copy of all Documents reflecting or relating to the disclosure outside of MMR
         of any Greensheets.

25
   A true and correct copy of which is attached to the Fonacier Declaration as Exhibit “A”.
26
   A true and correct copy of which is attached to the Fonacier Declaration as Exhibit “D”.
27
   A true and correct copy of which is attached to the Fonacier Declaration as Exhibit “F”.
28
   A true and correct copy of which is attached to the Fonacier Declaration as Exhibit “G”.
29
   A true and correct copy of which is attached to the Fonacier Declaration as Exhibit “E”.
30
   A true and correct copy of which is attached to the Fonacier Declaration as Exhibit “D”.
31
   A true and correct copy of which is attached to the Fonacier Declaration as Exhibit “E”.
32
   A true and correct copy of which is attached to the Fonacier Declaration as Exhibit “A”.
33
   A true and correct copy of which is attached to the Fonacier Declaration as Exhibit “B”.
34
   A true and correct copy of which is attached to the Fonacier Declaration as Exhibit “A”.

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        AMENDED INTERROGATORY NO. 5:35

        Identify all persons and/or entities, outside of MMR, with whom any MMR Officer,
        Manager, Project Manager, Salesperson, or Estimator (or anyone else with the knowledge
        of any such individual) have at any time shared or divulged information and/or Documents
        you identified in your response to Interrogatory No. 4.

        Again, former MMR employees now with ISG know: (i) that documents responsive to

Request No. 34 existed at MMR; (ii) the names of MMR employees who shared pricing and

bidding information with industry participants outside of MMR; and (iii) the names of those

outside of MMR who received such MMR information. In other words, these discovery demands

were not drafted in a vacuum. In 2023, MMR agreed to provide answers to these specific

interrogatories. Over a year later, MMR has not provided amended responses nor has MMR

produced any responsive documents.

        D. MMR’s Insufficient Effort to Protect Internal Information

        As the Court is no doubt aware, MMR has the burden of establishing that it has “taken

reasonable measures to keep [the alleged proprietary information] secret.”36 One who voluntarily

discloses secret information or who fails to take reasonable precautions to secure its secrecy cannot

properly claim that information constitutes a trade secret.37 In Rx.com v. Hruska, No.05-cv-4148,

2006 WL 2583434 at *5-6 (S.D. Tex. Sept. 7, 2006), the court found no reasonable steps to protect

the alleged trade secrets were taken because “[plaintiff] has never requested [defendant] return the

e-mails, delete them, or take other steps to prevent their further disclosure.”

        One of ISG’s defenses to MMR’s trade secret claim is that MMR did not take any steps to

prevent its employees from leaving with MMR files. Indeed, ISG intends to prove at trial that


35
   A true and correct copy of which is attached to the Fonacier Declaration as Exhibit “B”.
36
   Complete Logistical Servs., LLC v. Rulh, 350 F. Supp. 3d 512, 518 (E.D. La. 2018).
37
   Phillips v. Frey, 20 F.3d 623, 631 (5th Cir. 1994) citing Interox v. PPG Industries, Inc., 736.2d 194, 202 (5th
Cir.1984).

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MMR consented to Yates having possession of MMR files when he started ISG (and it is Yates

who is the source of MMR files at ISG). Against this backdrop, ISG sought evidence reflecting

MMR’s actions and inactions in protecting its alleged trade secrets and proprietary information.

For example, ISG requested the following:

         REQUEST FOR PRODUCTION NO. 19:38

         Documents or communications concerning any exit interview of the Former MMR
         Employees.

         INTERROGATORY NO. 7:39

         Please Identify any employees who have left MMR’s employment, from 2021 forward, by
         the employee position, employee name, and date, the stated reasons for leaving, and the
         individuals next employer(s) after MMR.

         AMENDED INTERROGATORY NO. 18:40

         Identify and Describe each instance in which MMR ensured that MMR information was
         deleted from any employee-owned device such as mobile phones, external hard drives,
         and/or other storage devices for any who left anytime after 2017.

         ISG also sought information about an HR firm MMR retained to address MMR’s policies

relating to employee retention.

         REQUEST FOR PRODUCTION NO. 8:41

         The contract or engagement letter with the HR Firm, or documents reflecting the scope of
         the HR Firm’ engagement.

         REQUEST FOR PRODUCTION NO. 9:42

         Any reports or documents reflecting the results of the HR Firm’s engagement.




38
   A true and correct copy of which is attached to the Fonacier Declaration as Exhibit “D”.
39
   A true and correct copy of which is attached to the Fonacier Declaration as Exhibit “E”.
40
   A true and correct copy of which is attached to the Fonacier Declaration as Exhibit “B”.
41
   A true and correct copy of which is attached to the Fonacier Declaration as Exhibit “G”.
42
   Id.

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        These requests should have yielded information about how MMR handled employee

departures and exit interviews. These requests also should have provided information relevant to

ISG’s defense that MMR’s lawsuit was motivated not by concern over proprietary information but

about a negative reaction to so many MMR employees leaving to join competitors including (and

not exclusively) ISG. Consistent with MMR’s approach to discovery, MMR has failed to provide

any responsive documents or interrogatory answers.

        E. MMR Has Blatantly Ignored Its Discovery Obligations

        In summary, despite numerous discovery requests by ISG and conferences and

correspondence regarding deficiencies on a bevy of occasions, MMR has not provided responsive

documents or interrogatory answers. As of the date of the filing of this motion, MMR has had

months, if not years in some instances, to respond to ISG’s requests for production of documents

and interrogatories. Where ISG has been forthcoming with divulging its information regarding this

matter, MMR has been consistently uncooperative and obstructive in its approach to responding

to simple, reasonable discovery requests. Many of MMR’s responses consist of nothing more than

the same boilerplate objections copied and pasted over and over again. Moreover, MMR’s

responses were deficient not only because of the evasive nature of their objections and responses,

but also because it was obvious that MMR did not produce all (or in most cases any) of the relevant,

non-privileged documents in its possession.

        MMR’s discovery responses are well below the threshold of their responsibilities under the

Federal Rules, and MMR failed to adequately address most of the requests levied upon them,

despite MMR’s repeated acknowledgment that MMR has responsive information and documents

in its possession. Further, MMR has continually promised to supplement responses, yet MMR has

failed to do so at each turn.



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            MMR’s counsel has been afforded a litany of opportunities to correct discovery

deficiencies, as detailed in numerous deficiency letters sent by ISG’s counsel. Still, the only

consistency throughout the discovery process has been MMR’s unwillingness to provide any

substantive information relative thereto.

     III.      ARGUMENT

            Rule 37(a)(3)(B) provides that a “party seeking discovery may move for an order

compelling an answer, designation, production, or inspection” if “a party fails to answer an

interrogatory submitted under Rule 33,”43 or if “a party fails to produce documents or fails to

respond that inspection will be permitted or fails to permit inspection as requested under Rule

34.”44 FRCP 37 further notes, “an evasive or incomplete disclosure, answer, or response must be

treated as a failure to disclose, answer, or respond.”45 Trial courts are afforded substantial

discretion in determining whether to grant or deny a motion to compel discovery.46 “If the motion

is granted or if the requested discovery is only provided after the motion is filed, ‘the court must,

after giving an opportunity to be heard, require the party or deponent whose conduct necessitated

the motion, the party or attorney advising that conduct, or both to pay the movant’s reasonable

expenses incurred in making the motion, including attorney’s fees.”47


43
   Fed. R. Civ. P. 37(a)(3)(B)(iii).
44
   Fed. R. Civ. P. 37(a)(3)(B)(iv). Rivera v. Martin J. Donnelly Antique Tools, 2016 WL 1389984 (M.D. La. Apr. 7,
2016). (The district court struck responses which established as a matter of law that the party lacked evidence to
address those specific assertions.)
45
   Fed.R. Civ. P. 37(a)(4). Maya Detiege, Et Al. v. Katrina R. Jackson. Dayne Sherman, No. CV 3:23-0175, 2024 WL
4884414, at *3 (W.D. La. Nov. 25, 2024).
46
   Valley Reg’l Med. Ctr. v. Wright, No. 02-40144, 61 Fed.Appx. 121, at *2 (5th Cir. 2003) (per curiam); Kelly v. Syria
Shell Petroleum Dev. B.V., 213 F.3d 841 (5th Cir.2000); Moore v. CITGO Ref. & Chemicals Co., L.P., 735 F.3d 309,
(5th Cir. 2013) (the district court dismissed certain claims as discovery sanction for failing to participate in discovery,
failing to properly supplement responses, and failing to preserve documents); Heptinstall v. Blount, 3 F.3d 436 (5th
Cir. 1993) (“the district court […] may impose sanctions when a party fails to answer interrogatories or fails to respond
to requests for production after receiving proper notice.”).
47
   Dwight & Gary LLC, 2021 WL 6973865, at *2 (quoting Fed. R. Civ. P. 37(a)(5)(A)). Coane v. Ferrara Pan Candy
Co., 898 F.2d 1030, 1031 (5th Cir. 1990) (The Court determined that the award of fees permitted by Rule 37(d), which
provides for sanctions for discovery abuses in cases where no prior discovery order has issued.)


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       In accordance with Rule 37, this Court should order MMR to (a) serve full, complete, and

non-evasive answers to the interrogatories and (b) produce full and complete copies of documents

requested at issue herein.

                                        CONCLUSION

       For the reasons set forth herein, ISG respectfully requests that the Court grant its Motion

to Compel, and, pursuant to Rule 37 of the Federal Rules of Civil Procedure, order that MMR

provide responsive answers and documents to ISG’s Interrogatories and Requests for Production

of Documents and assess attorneys’ fees and costs associated with this Motion against MMR.

                                                    Respectfully submitted,

                                                    DUNLAP FIORE LLC

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                                                      Travis Dardenne, David Heroman and
                                                      Michael Lowe



                                 CERTIFICATE OF SERVICE
       I hereby certify that I electronically filed the foregoing pleading with the Clerk of Court by

using the CM/ECF system, which will send a notice of electronic filing to all counsel of record on

this 9th day of December 2024.

                                       /s/ Jennifer A. Fiore
                                           Jennifer Fiore




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